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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION

 BRANDON MORRIS                                           CIVIL ACTION NO. 3:19-cv-00266

 VERSUS                                                   JUDGE TERRY A. DOUGHTY

 GRAPHIC PACKAGING                                        MAG. JUDGE KAREN L. HAYES
 INTERNATIONAL, LLC


                 STATEMENT OF UNCONTESTED MATERIAL FACTS
             SUBMITTED BY GRAPHIC PACKAGING INTERNATIONAL, LLC


        NOW INTO COURT, through undersigned counsel, comes Graphic Packaging International,

 LLC (“GPI”), Defendant herein, pursuant to Rule 56.1 of the Local Rules for the United States

 District Court for the Western District of Louisiana, and hereby submits its statement of uncontested

 material facts.

        1.         GPI contracted with M. L. Smith, Jr., LLC (“M. L. Smith”) to perform the rebuild

 of the black liquor reclaim tank at GPI’s facility near West Monroe, Louisiana. See generally

 Petition for Damages at Paragraph 8; Answer of GPI at Paragraph 8; Affidavit of Peggy Gross

 (“Gross Affidavit”).

        2.         The Section 13 of the General Terms and Conditions of the contract between GPI and

 M. L. Smith contained provisions specifically stating that GPI was the statutory employer of M. L.

 Smith employees under the provisions of La. R.S. 23:1061 (A)(3). See generally Gross Affidavit,

 Exhibits “A” and “B”.

        3.         On the date of the alleged incident herein, February 2, 2018, Plaintiff, Brandon Morris

 (“Morris”) was employed by M. L. Smith and was working within the course and scope of his

 employment with M. L. Smith on the black liquor reclaim tank project at the time of the alleged

 incident. See generally Petition for Damages at Paragraphs 2, 3 and 7; GPI Answer at Paragraphs

 3 and 4.

        4.         Morris has alleged that he was injured by fluid material that caused chemical burns

 to his feet while working on the rebuild of the black liquor reclaim tank. See generally Petition for

 Damages at Paragraphs 3, 4 and 5.
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        5.      The black liquor reclaim tank is a part of the continuous process whereby black liquor

 is recycled by the kraft pulping recovery process in order to recover chemicals for future use, lower

 environmental effluent amounts and produce steam and power for the plant process. See generally

 Affidavit of Ken Meissner (“Meissner Affidavit”).

        6.      The black liquor reclaim tank allows the recovery process to be a continuous process

 as large amounts of black liquor are produced by the pulp making process on a daily basis and the

 tanks are necessary to provide temporary storage for the material as it is being recycled in the

 recovery process into its separate constituents for use in the pulp making process or for generation

 of pulping chemicals, steam and power. See generally Meissner Affidavit.

        7.      The black liquor reclaim tank is a necessary part of the pulp making and recovery

 process which is essential to the kraft pulp process and necessary for the production of GPI’s

 paperboard products. Meissner Affidavit at Paragraphs 4, 6 and 7.

                                                       Respectfully submitted,

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                                                       By:         s/C. A. Martin, III
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                                                       Attorneys for Graphic              Packaging
                                                       International, LLC
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing Statement of
 Uncontested Material Facts Submitted by Graphic Packaging International, LLC was filed
 electronically and served by operation of the Court’s CM/ECF system on this 10th day of September,
 2019, on the following counsel of record:

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